          Case 2:16-cv-00304-TS Document 219 Filed 11/08/18 Page 1 of 1
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                                                                      2018 NOV 7 PM 5:31
                                                                            CLERK
                                                                      U.S. DISTRICT COURT



       IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH
                                       CENTRAL DIVISION


 Polukoff,

               Plaintiff,                               ORDER OF RECUSAL

        vs.

 St. Mark's Hospital, et al,                            Case No. 2:16-cv-304 JNP

               Defendant.




       I recuse myself in this case, and ask that the appropriate assignment equalization

card be drawn by the clerk’s office.



       DATED this 7th          day of November, 2018.


                                              BY THE COURT:



                                              ___________________________________
                                              Jill N. Parrish
                                              United States District Judge
